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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 In the Matter of Search Warrants Executed on April 9,
 2018

 MICHAEL D. COHEN,                                            18-MJ-3161 (KMW)

                               Plaintiff,                     ORDER FOR ADMISSION PRO
                                                              HAC VICE
                       - against –

 UNITED STATES OF AMERICA,

                               Defendant.



       The motion of Michael J. Avenatti, for admission to practice pro hac vice in the above

captioned action is granted.



       Applicant has declared that he is a member in good standing of the bar of the State of

California; and that his contact information is as follows:

       Michael J. Avenatti
       AVENATTI & ASSOCIATES, APC
       520 Newport Center Drive, Suite 1400
       Newport Beach, CA 92660
       Tel: (949) 706-7000
       Fax: (949) 706-7050
       E-Mail: mavenatti@eoalaw.com


       Applicant having requested admission Pro Hac Vice to appear for all purposes as counsel

for Intervenor Stephanie Clifford a.k.a. Stormy Daniels in the above entitled action.



       IT IS HEREBY ORDERED that Applicant is admitted to practice pro hac vice in the

above captioned case in the United States District Court for the Southern District of New York.


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All attorneys appearing before this Court are subject to the Local Rules of this Court, including

the Rules governing discipline of attorneys.




Dated:
                                               United States District/Magistrate Judge




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